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                             UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

 UNITED STATES OF AMERICA                               Cr. No. 98-30024-12

 VERSUS                                                 JUDGE ROBERT G. JAMES

 ROBERT EARL BARNETTE                                   MAG. JUDGE KAREN L. HAYES


                                    MEMORANDUM ORDER

        Pending before the Court is a letter motion [Doc. No. 701] filed by Defendant Robert Earl

 Barnette (“Barnette”). Barnette seeks “help” from the Court to the extent that he can receive credit

 on his federal sentence for the time he was in “Federal custody.” [Doc. No. 701, p.1].

        Barnette was originally sentenced on June 30, 1999, to serve 120 months imprisonment after

 pleading guilty to distribution and possession with intent to distribute crack and powder cocaine.

 [Doc. No. 306]. Barnette completed his term of imprisonment, and on November 18, 2005, he

 commenced his five-year term of supervised release.

        Unfortunately, while serving his supervised release, on September 20, 2008, Barnette was

 arrested for committing the new criminal offenses of theft, criminal trespass, and damage to property.

 One month later, on October 20, 2008, Barnette was arrested for committing the new criminal

 offenses of distribution of marijuana and crack cocaine. Barnette did not notify his probation

 officers of his arrests and did not answer his probation officer truthfully, both of which were

 technical violations of the terms of his supervised release.

        On November 20, 2008, based on the Petition for Revocation filed by the Probation Office,

 then-presiding Judge Tucker L. Melancon issued a warrant for his arrest. [Doc. Nos. 645, 646 &
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 648]. However, the warrant was returned unexecuted because Barnette was in the custody of the

 Tensas Parish Correctional Center awaiting trial on his new state charges.

        On December 18, 2008, the Government filed a Petition for Writ of Habeas Corpus Ad

 Prosequendum, seeking authority for the United States Marshals to secure Barnette’s appearance on

 the federal charges. [Doc. No. 655]. Judge Melancon granted the Petition the following day, and the

 Writ issued. [Doc. Nos. 657 & 658]. A revocation hearing was set for January 21, 2009. However,

 on January 20, 2009, Judge Melancon issued a minute entry [Doc. No. 664] continuing the

 revocation without date pending the resolution of the state court charges. It appears that Barnette

 was returned to state custody at this point.

        On April 17, 2009, Barnette’s case was reassigned from Judge Melancon to the undersigned.

        On April 24, 2009, the Government filed another Petition for Writ of Habeas Corpus Ad

 Prosequendum, which Magistrate Judge Karen L. Hayes granted on April 27, 2009. [Doc. Nos. 670,

 671 & 672]. Under that Writ and a Supplemental Writ [Doc. No. 674], the United States Marshals

 were ordered to produce Barnette for an initial appearance on May 11, 2009.

        On May 11, 2009, Barnette, represented by counsel, made an initial appearance. The

 following day, his revocation hearing was set for May 18, 2009, at 10:00 A.M.

        On May 18, 2009, the Court held a hearing on the Petition for Revocation of Barnette’s

 supervised release. Barnette admitted that he violated his terms of supervised release, and, based

 on the evidence presented, the Court revoked his supervised release. The Court sentenced Barnette

 to serve 30 months to run consecutively with the sentence imposed in his state cases in the Sixth

 Judicial District Court, Parish of Tensas, Docket Nos. 78678 and 78583. [Doc. No. 680].

        While his filing is not entirely clear, Barnette appears to seek credit for time served in


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 “Federal custody” prior to commencement of his term of imprisonment on his federal revocation

 violation. He may also be seeking credit on his federal sentence for time served on his state court

 sentences.

         Pursuant to 18 U.S.C. § 3585(b), the Attorney General, through the BOP, is charged with

 calculating a defendant’s credit for any time served. 18 U.S.C. § 3585(b) (“A defendant shall be

 given credit toward the service of a term of imprisonment for any time he has spent in official

 detention prior to the date the sentence commences . . . that has not been credited against another

 sentence.”). If a defendant wishes to challenge this calculation or the manner in which his sentence

 is being executed, he must, first, exhaust his available administrative remedies through the BOP

 before litigating in federal court. See United States v. Wilson, 503 U.S. 329, 335 (1992). Then the

 defendant may seek review in federal court by filing a petition for writ of habeas corpus, pursuant

 to 28 U.S.C. § 2241, in the district in which he is incarcerated. See Pack v. Yusuff, 218 F.3d 448,

 451 (5th Cir. 2000) (“A section 2241 petition on behalf of a sentenced prisoner attacks the manner

 in which a sentence is carried out or the prison authorities’ determination of its duration, and must

 be filed in the same district where the prisoner is incarcerated.”).

        In this case, Barnette has made no showing that he has exhausted his remedies through the

 BOP, and he is currently incarcerated in the Beaumont Federal Correctional Institute. Therefore, the

 United States District Court for the Eastern District of Texas, not this Court, has jurisdiction over

 his section 2241 Petition.1 Accordingly,

        IT IS ORDERED that Barnette’s motion, which the Court construes as a Petition for Writ


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         While the Court would have jurisdiction over a motion to vacate, set aside, or correct
 sentence, filed pursuant to 28 U.S.C. § 2255, Barnette does not appear to challenge the
 lawfulness of his sentence, just the BOP’s calculation of time.

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 of Habeas Corpus pursuant to 28 U.S.C. § 2241, is DENIED and DISMISSED WITHOUT

 PREJUDICE to Barnette’s right to re-file in the United States District Court for the Eastern District

 of Texas.

        MONROE, LOUISIANA, this 15th day of September, 2011.




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